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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )         4:04CR3078
                                            )
             Plaintiff,                     )
                                            )
      vs.                                   )
                                            )         ORDER
HEATHER M. TECHAU,                          )
                                            )
             Defendant.                     )

      IT IS ORDERED that:

      (1)   The Clerk of Court shall correct the title of defendant’s motion (filing 129)
from “unopposed motion to continue trial” to “motion to appoint counsel.”

       (2)     Defendant Techau’s motion to appoint Korey Reiman as her counsel (filing
129) in relation to the defendant being a witness is granted.

      (3)    The Federal Public Defender shall provide Mr. Reiman with a CJA voucher.


      February 7, 2006.                         BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
